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IN THE UNITED STATES DISTRICT COURT '"”'*~ ) 4 ' 'C
FOR THE WESTERN DISTRICT OF TENNESSEE” kf/i "’ a- §§
EASTERN DIVISION 1 . j 0/,;{2,
h /7‘/ g @L~?r":§
MO“§S-i,“"

LESLIE HIGH, § "

ii

Plaintiff, §

§
VS. § No. 05-1038-T/An

ii
CORRECTIONS CORPORATION OF q
AMERICA, ET AL., §

§

Defendants. L
ORDER ASSESSING $250 FILING FEE
ORDER OF DISMISSAL
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND

NOTICE OF APPELLATE FILING FEE

 

Plaintiff Leslie High, Tennessee Department of Correction (“TDOC”) prisoner
number 86372, an inmate at the Whiteville Correctional Facility (“WCF”) in Whiteville,
Tennessee, filed a pro se complaint pursuant to 42 U.S.C. § 1983 on March 24, 2005. The
Clerk Shall record the defendants as the Corrections Corporation ofAmerica (“CCA”), WCF
Warden Stephen Dotson, Assistant Warden Cherty Lindarnood, Security Chief Pritchard,
Acting Unit Manager/Counselor Jones, Acting Unit Manager Sain, Counselor Leavy,

Someone identified as “CCA Senior Anderson,” and Penny Tucker, Who is described as the

CCA/TDOC Liaison.

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I. Assessment of Filing Fee

Under the Prison Litigation Reforrn Act of 1995 (“PLRA”), 28 U.S.C. § 19 l S(a)'-(b),
all prisoners bringing a civil action must pay the full filing fee of $250 required by 28 U.S.C.
§ l9l4(a).] The statute merely provides the prisoner the opportunity to make a
“downpayrnent” of a partial filing fee and pay the remainder in installments

In this case, the plaintiff has properly completed and submitted an in forma pauperis
affidavit containing a certification by the trust fund officer and a trust fund account
statement Pursuant to 28 U.S.C. § 1915(b)(l), it is ORDERED that the plaintiff cooperate
fully with prison officials in carrying out this order. It is further ORDERED that the trust
fund officer at plaintiffs prison shall calculate a partial initial filing fee equal to twenty
percent (20%) of the greater of the average balance in or deposits to the plaintiff’ s trust fund
account for the six months immediately preceding the completion of the affidavit When the
account contains any funds, the trust fund officer shall collect them and pay them directly
to the Clerk of Court. If the funds in plaintiff’ s account are insufficient to pay the full
amount of the initial partial filing fee, the prison official is instructed to withdraw all of the
funds in the plaintiff s account and forward them to the Clerk of Court. On each occasion
that funds are subsequently credited to plaintiffs account the prison official shall
immediately withdraw those funds and forward them to the Clerl< of Court, until the initial

partial filing fee is paid in fiill.

 

l Eft`ective March 7, 2005, the civil filing fee was increased from $lSO to $250.

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lt is further ORDERED that after the initial partial filing fee is fully paid, the trust
ii.\nd officer shall withdraw from the plaintiff’s account and pay to the Clerk of this Court
monthly payments equal to twenty percent (20%) of all deposits credited to plaintiff" s
account during the preceding month, but only When the amount in the account exceeds
$l0.00, until the entire $250.00 filing fee is paid.

Each time that the trust fund officer makes a payment to the Court as required by this
order, he shall print a copy of the prisoner’s account statement showing all activity in the
account since the last payment under this order and file it with the Clerk along with the
payment All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of Tennessee, 262 U.S.
Courthouse, 111 S. Highland Ave., Jackson, TN 38301

and shall clearly identify plaintiff’ s name and the case number on the first page of this order.

The obligation to pay this filing fee shall continue despite the immediate dismissal
of this case. 28 U.S.C. § 1915(e)(2). If plaintiff is transferred to a different prison or
released, he is ORDERED to notify the Court immediately of his change ofaddress. If still
confined he shall provide the officials at the new prison with a copy of this order. If the
plaintiff fails to abide by these or any other requirement of this order, the Court may impose
appropriate sanctions, including a monetary fine, without any additional notice or hearing
by the Court.

The Clerk shall mail a copy of this order to the prison official in charge of prison trust
fund accounts at plaintiffs prison. The Clerk is further ORDERED to forward a copy of

this order to the warden of the WCF to ensure that the custodian of the plaintiffs inmate

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trust account complies with that portion of the PLRA pertaining to the payment of filing
fees. However, the Clerk shall not issue process or serve any other papers in this case.
II. Analysis of Plaintiff’s Claims

The complaint alleges that, on May 15 , 2004, his cellmate, Brian Hirst, filled out an
inmate cell change request that was routed to defendant Sain, Who denied the request on
May 17, 2004. The complaint avers that Hirst’s request stated that he was not getting along
with plaintiff, that plaintiff had stolen his commissary and Watch, and that, if he was not
moved, there would be trouble. Hirst also allegedly asked defendants Jones, Leavy, and
Anderson to move him. Plaintiff was physically assaulted by Hirst on May 26, 2004. After
the assault, the plaintiff was escorted to the medical department, where he was held for
observation for approximately a day. The plaintiff contends his head was hurting and he had
double vision and back spasms and pains. He allegedly requested to be seen by a doctor and
Was transferred to a Bolivar medical clinic on May 27, 2004. The plaintiff was returned
from Bolivar later on that evening and was released from the medical holding area without
seeing a doctor.2 On June 2, 2004, plaintiff complained on sick ca11 of continued head pain,
back spasms, and double vision. On June 8, 2004, plaintiff complained to defendants
Lindamood and Pritchard about the incident and the failure to afford him a medical review
by a doctor. On June 14, 2004, when he was in the clinic having his blood pressure

checked, the plaintiff complained to the nurse about his continued pain and double vision

 

2 lt is not clear whether the plaintiff contends only that he did not see a doctor at the prison or whether he
also contends that he did not see a doctor at the clinic in Bolivar.

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Stemming from the assault. Despite these efforts, nobody ensured that plaintiff would be
examined by a doctor at the prison. The plaintiff seeks compensatory and punitive damages

The Sixth Circuit has held that 42 U.S.C. § l997e(a) requires a federal court to
dismiss a complaint without prejudice whenever a prisoner brings a prison conditions claim
without demonstrating that he has exhausted his administrative remedies Brown v.
TLmbs, 139 F.3d 1102 (6th Cir. 1998); g Porter v. Nussle, 534 U.S. 516, 532 (2002)
(“[T]he PLRA’s exhaustion requirement applies to all inmate suits about prison life, whether
they involve general circumstances or particular episodes, and whether they allege excessive
force or some other wrong.”); Booth v. Churner, 532 U.S. 731 (2001) (prisoner seeking only
money damages must exhaust administrative remedies although damages are unavailable
through grievance system). This requirement places an affirmative burden on prisoners of
pleading particular facts demonstrating the complete exhaustion of claims. Knuckles El v.
T__oo__m_b_s, 215 F.3d 640, 642 (6th Cir. 2000). To comply with the mandates of 42 U.S.C.
§ l997e(a):

a prisoner must plead his claims with specificity and show that they have been

exhausted by attaching a copy of the applicable administrative dispositions to

the complaint or, in the absence of written documentation, describe with

specificity the administrative proceeding and its outcome.

Knuckles El, 215 F.3d at 642; see also Boyd v. Corrections Corp. of Am., 380 F.3d 989,

 

985-96 (6th Cir. 2004) (describing the standard for demonstrating exhaustion when prison

officials fail to respond in a timely manner to a grievance), cert. denied, 125 S. Ct. 1639
(2005); Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002) (prisoner who fails to allege

exhaustion adequately may not amend his complaint to avoid a sua sponte dismissal); Cugy

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mg 249 F.3d 493, 503-04 (6th Cir. 2001) (no abuse of discretion for district court to
dismiss for failure to exhaust when plaintiffs did not submit documents showing complete
exhaustion of their claims or otherwise demonstrate exhaustion). Furthermore, § 1997(e)
requires the prisoner to exhaust his administrative remedies before filing suit and, therefore,
he cannot exhaust these remedies during the pendency of the action. Freeman v. Francis,
196 F.3d 641, 645 (6th Cir. 1999). Finally, the Sixth Circuit recently held that district courts
are required to dismiss a complaint in its entirety, pursuant to 42 U.S.C. § 1997e(a), that
contains any unexhausted claims J ones Bey v. Johnson, _ F.3d _ , No. 03-2331, 2005
WL 1120283, at *3-*6 (6th Cir. Apr. 27, 2005).

ln this case, the plaintiff attached a copy of a grievance (Grievance No. 5069/160042)
submitted on or about June 18, 2004 complaining about the failure to provide him with
adequate medical care after the assault by Hirst. The only individual defendants mentioned
in the grievance are Lindamood and Hirst, who failed to respond to his complaints After
receiving a substantive response to the grievance, the grievance committee rejected the
grievance on June 29, 2004 on the ground that “[g]rievance is inappropriate to procedures
move to next level per grievance procedures.” On June 30, 2004, the warden agreed in part
with the proposed response, stating that “grievance is inappropriate both in regards to date
filed AND it is grieving medical diagnosis As grievant himself states the outside physician
found no significant injuries and he has been treated at the facility. Not being given the
specific pain meds he wants is not grievable.” Plaintiff’s appeal to the TDOC was denied

on July 20, 2004. lt appears, therefore, that the plaintiff has exhausted a general claim about

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the failure to provide appropriate medical care and his claims against defendants Lindamood
and Pritchard for failing to respond to his letter of complaint

Plaintiff has not, however, exhausted his claims against defendants Jones, Sain,
Leavy, and Anderson concerning their failure to protect him from assault by Hirst. Plaintiff
also has not exhausted any claim against defendants Dotson and Tucker. Moorer v. Price,
83 Fed. Appx. 770, 772 (6th Cir. Dec. 9, 2003) (plaintiff did not exhaust claim against
warden because his grievance did not identify the warden or articulate any claim against
her); Thomas v. Woolum, 337 F.3d 720, 733-34 (6th Cir. 2003); C_ur_ry, 249 F.3d at 504.3

The Sixth Circuit has stated that “[a] plaintiff who fails to allege exhaustion of
administrative remedies through ‘particularized averments’ does not state a claim on which
relief may be granted, and his complaint must be dismissed sua sponte.” M, 305 F.3d
at 489.4 Moreover, pursuant to the recent decision in J ones Bey, a district court must dismiss
any complaint that contains unexhausted claims rather than attempting to sever the
exhausted claims The facts of Jones Bey, and the separate opinion by Judge Clay, suggest

that this principle applies even when the claims against some defendants have been

 

3 Although the complaint also asserts that the plaintiff complained to various prison officials, the Sixth

Circuit has repeatedly held that an inmate must strictly follow the prison grievance procedures Shephard v.
Wi|kinson, 27 Fed. Appx. 526, 527 (6th Cir. Dec. 5, 2001) (“While Shephard asserts that he has raised his
complaints in numerous letters to prison and public officials, a prisoner must utilize the formal grievance process
provided by the state; he cannot comply with the requirements of § 1997e(a) by informally presenting his claims.”);
Hewell v. Leroux, 20 Fed. Appx. 375, 377 (6th Cir. Sept. 21, 2001) (same); see also Clark v. Beebe, No. 98-1430,
1999 WL 993979, at *2 (6th Cir. Oct. 21, 1999) (district court erred in holding that prisoner had substantially
complied with exhaustion requirement by writing a letter to the U.S. Attomey’s office that eventually made its way
to the warden of plaintiff’ s prison). Plaintiff’s informal complaints are not, therefore, a substitute for a formal
inmate grievance

 

4 As the Sixth Circuit explained, “If the plaintiff has exhausted his administrative remedies, he may
always refile his complaint and plead exhaustion with sufficient detail to meet our heightened pleading requirement,
assuming that the relevant statute of limitations has not run.” Baxter, 305 F.3d at 489.

 

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completely exhausted. 2005 WL l 120283, at *10. Accordingly, the Court DlSMlSSES the
complaint in its entirety, without prejudice, pursuant to 42 U.S.C. § 1997e(a).
llI. Appeal lssues

The next issue to be addressed is whether plaintiff should be allowed to appeal this
decision in forma pauperis Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may
not be taken in forma pauperis if the trial court certifies in writing that it is not taken in good
faith. The good faith standard is an objective one. Coppedge v. United States, 369 U.S.
43 8, 445 (1962). An appeal is not taken in good faith if the issue presented is frivolous l_d_.
Accordingly, it would be inconsistent for a district court to determine that a complaint
should be dismissed prior to service on the defendants, yet has sufficient merit to support an
appeal in forma pauperis See Williams v. Kullman, 722 F.2d 1048, 1050 n.l (2d Cir.
1983). The same considerations that lead the Court to dismiss this case also compel the
conclusion that an appeal would not be taken in good faith.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal in this
matter by plaintiff is not taken in good faith.

The final matter to be addressed is the assessment of a filing fee if plaintiff appeals
the dismissal of this case.5 In McGore v. Wrigglesworth, 114 F.3d 601, 610-ll (6th Cir.
1997), the Sixth Circuit set out specific procedures for implementing the PLRA. Therefore,

the plaintiff is instructed that if he wishes to take advantage of the installment procedures

 

5 Effective November l, 2003, the fee for docketing an appeal is $250. §§ Judicial Conference Schedule
of Fees, ‘[l l, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917, a district court also charges a $5 fee.

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for paying the appellate filing fee, he must comply with the procedures set out in McGore

and § 1915(a)-(b). l
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IT IS SO ORDERED this l/Q day of June, 2005.

A.QVM

JAM D. TODD
D STATES DISTRICT JUDGE

   

 

   

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case l:OS-CV-01088 was distributed by fax, mail, or direct printing on
June 7, 2005 to the parties listed.

 

Leslie High

86372

P.O. Box 679
Whiteville, TN 38075

Honorable .l ames Todd
US DISTRICT COURT

